          Case 1:15-cv-05871-KPF Document 144 Filed 11/20/19 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 KELLY PRICE,

                             Plaintiff,
                                                         15 Civ. 5871 (KPF)
                      -v.-
                                                               ORDER
 THE CITY OF NEW YORK, et al.,

                             Defendants.

KATHERINE POLK FAILLA, District Judge:

         On November 18, 2019, the Court issued an order granting Plaintiff’s

motion to substitute the names Stephen Mears and Alison Schmitt for the

John Doe and Jane Doe Defendants and deeming the Fifth Amended

Complaint the operative complaint in this case. (Dkt. #143). In granting the

motion the Court indicated that the MTA did not oppose the substitution of

names for the John and Jane Doe Defendants. (See id.). However, it has been

brought to the Court’s attention that this was in error. It had been represented

to the Court by Plaintiff’s counsel that it was the City Defendants — the City of

New York and its employees — that did not oppose the motion. The MTA itself

is not a defendant in this lawsuit. The Court writes merely to correct its prior

order.

         SO ORDERED.

Dated:         November 20, 2019
               New York, New York


                                                    KATHERINE POLK FAILLA
                                                   United States District Judge
